Case 2:98-cr-20283-BBD Document 108 Filed 06/15/05 Page 1 of 4 Page|D 93

IN THE UNITEI) sTATEs DISTRICT CoURT F"fD 33 a . ac.
FoR THE wEsTERN DIsTRIcT oF TENNESSEE
wEsTERN DivlsloN 95 JUH 15 B.H lg= 35

UNITED STATES OF AMERICA, HOEERT *'"`-" U-‘ i"HOL£O

Plaintiff, )
V_ § NO. 98-20283 D/An
WILLIAM PHILLIPS, §

Defendant. §

 

ORDER GRANTING MOTION FOR RECONSIDERATION AND
DENYING MOTION FOR SANCTIONS

 

Before the Court is the United States’ Motion for Magistrate Court to Re-Consider and/or
in the Alternative Obj ections to the Magistrate’s Report and Recommendation filed on April 8,
2005. The Court held a hearing on this motion on June l, 2005, and at the hearing, Defendant’s
counsel made an oral Motion for Sanctions. For the reasons set forth below, the Motion for
Reconsideration is GRANTED and the Motion for Sanctions is DENIED.

On Decernber l6, 2004, Defendant filed a Rule 16 Discovery Request with the Court. ln
an Order granting this motion, United States District Judge Bernice B. Donald required the
United States to produce “any evidence of a ‘pattern and practice of Defendant leaving the
jurisdiction’ with the probation officers consent.” Unifed Stares v. Phillz`ps, Order on Motion for
Discovery, Civil No. 98-20283 D/An (W.D. Tenn. Jan. 13, 2005). Judge Donald followed that
“it is reasonable for the USA to facilitate the discovery requ.est” submitted by the Defendant. Id.
On or about January 31, 2005 , the Governrnent produced various documents to the Defendant;

however, the Defendant was not satisfied with the Government’s efforts. More specifically,

l

This document enter
W`lth Flule 55 and/'or 32(b} FRCrP on

ed on the docket sheet in compliance

_O,

Case 2:98-cr-20283-BBD Document 108 Filed 06/15/05 Page 2 of 4 Page|D 94

Defendant claimed in a supplemental motion to compel that “[t]o the date of this Motion, none of
the requested documents or things . . . have been produced to Defendant.” United States v.
th`llz`ps, Motion to Compel Production of Documents and, Alternatively, Motion for Judgment
ofAcquittal, Civil No. 98-20283 D/An (W.D. Tenn. Feb. 23, 2005).

The instant Motion for Reconsideration involves the supplemental motion to compel,
filed by Defendant on February 23, 2005. Judge Donald referred this Motion to Cornpel to the
Magistrate Judge for a report and recommendation, and after the United States did not respond to
the motion to compel, the Magistrate Judge recommended the Motion be granted The United
States then filed the instant l\/lotion for Reconsideration asking that the Court reconsider its
ruling granting the February 2005 Motion to Compel. At the hearing on the motion for
reconsideration, Defendant’s counsel orally requested the Court impose sanctions against the
Government after the Government published falsities in its Motion for Reconsideration about the
Defendant.

Based on Statcinents made by counsel at the hearing, the Court is convinced that the
Government has complied with Judge Donald’s Janu.ary 13, 2005 Order and has provided the
Defendant With any evidence that would be exculpatory regarding Defendant’s claim that the
probation officers either directly or tacitly approved the Defendant’s leaving of this district As
such, the Court concludes that the Government should not be required to produce further
discovery to the Defendant, and the Court concludes that the Defendant should not be entitled to
examine the probation officer’s files on the Defendant in an attempt to fish for discoverable
information The Motion for Reconsideration is GRANTED, and the Court hereby recommends

that Judge Donald DENY the Defendant’s Motion to Compel.

Case 2:98-cr-20283-BBD Document 108 Filed 06/15/05 Page 3 of 4 Page|D 95

At the hearing, the Defendant argued that the Govemment’s conduct was outrageous in
stating in its Motion for Reconsideration that the Probation Officer handling Defendant’s
supervised release “filed a petition to violate the defendant’s supervised released based on . . .
[the Defendant’s] commission of another state felony offense (unlawful possession of controlled
substance and theft of property over $1,000) . . . ." (Mot. for Magistrate Judge to Re-Consider, at
1-2). Defendant’s counsel argues that the Defendant has never been arrested for unlawful
possession of a controlled substance, and Defendant’s counsel requests that the Court impose
sanctions on the Government for including a false accusation in its Motion.

The Government admitted at the hearing that this accusation Was an unintentional
mistake The Government further admitted that the Defendant has not been charged With
unlawful possession of a controlled substance, and the Government admits that there is no
evidence to suggest that the Defendant has or Will be charged with unlawful possession of a
controlled substance After due consideration, the Court concludes that sanctions should not be
imposed on the Government. As such, Defendant’s Motion for Sanctions is DENIED. The
Court instead orders that any reference to Defendant being charged With unlawful possession of a

controlled substance be stricken from the Motion for Reconsideration.

IT IS SO ORDERED.
r"""'""'_
é. /Amm=s g @_ l

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date: %U- /¢/ 200-$,
U

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 108 in
case 2:98-CR-20283 was distributed by faX, mail, or direct printing on
June 15, 2005 to the parties listed.

ENNESSEE

 

Tracy Lynn Berry

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

Mike Roberts

LAW OFFICES OF 1\/[[KE ROBERTS
707 Adams Ave.

Pillow-Mclntyre House

1\/1emphis7 TN 38105

Lee S. Saunders
WILDER & SAUNDERS
108 East Court Square
Somerville, TN 38068

Camille Reese Mcl\/lullen
U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

